215 F.3d 7 (D.C. 2000)
    American Federation of Government Employees, AFL-CIO, et al.,Appellantsv.Daniel R. Glickman, Secretary of the U.S. Department of Agriculture, et al.,Appellees
    No. 99-5320
    United States Court of Appeals FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Argued May 11, 2000Decided June 30, 2000
    
      Appeal from the United States District Court for the District of Columbia(98cv00893)
      Anne M. Wagner argued the cause for appellants.  With  her on the briefs was Mark Roth.
      Alfred Mollin, Attorney, U.S. Department of Justice, argued the cause for appellees.  With him on the brief were David W. Ogden, Acting Assistant Attorney General, William  B. Schultz, Deputy Assistant Attorney General, Barbara C.  Biddle, Attorney, and Wilma A. Lewis, U.S. Attorney.
      Before: Edwards, Chief Judge, Randolph and Garland,  Circuit Judges.
      Opinion for the Court filed by Circuit Judge Randolph.
      Randolph, Circuit Judge:
    
    
      1
      The Federal Meat Inspection  Act ("FMIA"), 21 U.S.C.    604, and the Poultry Products  Inspection Act ("PPIA"), 21 U.S.C.    455, require inspectors  appointed by the Department of Agriculture ("USDA") to  perform a "post-mortem inspection" of the carcasses and  parts of all livestock and birds processed for human consumption.  The question in this appeal from the judgment of the  district court is whether the statutes permit federal inspectors to step back from the processing lines and perform their  inspection duties by overseeing inspections conducted by  plant employees.
    
    
      2
      * Inspectors from the USDA's Food Safety and Inspection  Service ("FSIS") generally conduct post-mortem inspections  while stationed at fixed points along the slaughter processing  line.  Using organoleptic methods, that is, relying on sight,  touch and smell, the inspectors examine the head, viscera, and  exterior of each carcass for signs of adulteration, such as  tumors, inflammation, parasites, and other diseases.  See 9  C.F.R.  pts. 310-11,  381.76-94.  If the inspector detects no  signs of adulteration, the carcass is passed and marked with  the USDA legend.  See 9 C.F.R.  310.8, 381.79.  Under the  FMIA, if the inspector finds any lesion or other condition  "that might render the meat or any part unfit for food  purposes, or otherwise adulterated," the carcass (and its  parts) must be retained for veterinary disposition.  9 C.F.R.     310.3.  A carcass or part found to "be unsound, unhealthful,  unwholesome, or otherwise adulterated" is condemned and  marked as such.  Id.    310.5.  Similar procedures apply to  inspections under the PPIA.  See id.  381.81-89.
    
    
      3
      The method of inspection just described had remained  unchanged for decades.  Then, in the mid-1990s, FSIS embarked on a comprehensive food safety initiative targeting the  agency's resources at what it perceived as a serious health  risk--foodborne pathogens, such as salmonella and E. coli,  which cannot be detected by organoleptic inspection.  At the  same time it determined to make changes in the current  inspection process to combat these microbial causes of foodborne illness, FSIS addressed what it considered to be another failure of the present regulatory system--that it provides  processing plants with little incentive to detect and eliminate  unacceptable carcasses before presenting them for inspection. For these reasons, FSIS decided to require "industry to  assume responsibility for producing safe products, reducing  foodborne pathogens, and ... to shift Agency inspection  resources to those areas which present the greatest public  health risk."  John W. McCutcheon Decl. at p 10.
    
    
      4
      In July 1996, FSIS took the first step in implementing its  new initiative by promulgating the Pathogen Reduction/  Hazard Analysis and Critical Control Points ("HACCP") final  rule.  See 61 Fed. Reg. 38,806 (1996).  The rule "requires  plants to implement science-based process control systems as  a means of preventing food safety hazards, sets certain food  safety performance standards, and establishes testing programs to ensure those standards are met." Food Safety and  Inspection Service, HACCP-Based Inspection Models 1  (1998).  It provides the industry with complete control over  production decisions and execution, subject only to the performance standards set by FSIS.  FSIS believes that heightening the industry's responsibility for safe meat and poultry  products will increase "the incentives and flexibility establishments need to innovate and improve food safety."  HACCP  Final Rule, 61 Fed. Reg. 38,808.
    
    
      5
      Such advances, according to FSIS, cannot be achieved  without substantial changes to its approach to inspection.  As  the agency put it, the roles of establishments and federal  inspectors need to be "realigned to accord with the HACCP  philosophy."  Id.  To design and test new inspection models,  FSIS initiated the Inspection Models Development Project (the "Models Project").  Under the regulatory framework  proposed in the Models Project, the task of separating normal  from abnormal carcasses and parts will be carried out solely  by industry personnel.  Federal inspectors will be responsible  for monitoring the plant's performance in sorting and for  verifying its compliance with performance standards and  regulatory requirements.  Under the new model, a finding  that a product is not adulterated will be based on FSIS's  determination that the establishment's food safety and sanitation control systems are preventing adulteration.1
    
    
      6
      Under the new inspection models, FSIS has said that  "slaughter process control will be an industry responsibility  subject to FSIS oversight and verification."  HACCP-Based  Meat and Poultry Inspection Concepts:  In-Plant Slaughter  Inspection Models Study Plan, 63 Fed. Reg. 40,381, 40,381  (1998).  It explained, "[e]stablishment employees will conduct  anatomical and pathological examinations of carcasses, and  FSIS inspectors will oversee, evaluate, and verify the effectiveness and reliability of the establishments' slaughter process controls."  Id. FSIS plans the transition to industry based inspection to occur in stages.  At the outset, establishment employees will only be responsible for identifying and  removing trimmable defects.  They will later assume responsibility for generalized condemnable conditions.  And at the  final stage, employees will perform "all tasks related to  slaughter control," with the inspectors' role limited to oversight and verification.  Food Safety and Inspection Service,  HACCP-Based Inspection Models Project In-Plant Slaughter 10 (1998).
    
    
      7
      Draft guidance put out by FSIS gives some indication of  what oversight and verification entails.  Though the descriptions vary slightly depending on the class of animals, oversight amounts to inspectors observing establishment personnel as they process carcasses and remove unacceptable  products from the food supply.  By verification, FSIS means  that inspectors will randomly sample and examine carcasses  that have been passed to determine if the establishment is  complying with the relevant performance standards.
    
    
      8
      The appellants are a group of federal meat and poultry  inspectors, their union, and the Community Nutrition Institute.  They brought this suit to enjoin the Secretary from  "authorizing anything other than the carcass-by-carcass postmortem inspection by a federal government inspector."  Brief  for Appellants at 5.  Following cross-motions for summary  judgment, the district court ruled in the government's favor  on the basis that the word "inspection" did not clearly require  an organoleptic inspection.  See American Fed'n of Gov't  Employees, AFL-CIO v. Glickman, No. 98-0893, Memorandum and Order (D.D.C. Sept. 23, 1999).
    
    II
    
      9
      The statutory language with which we are concerned, the  language supposedly allowing FSIS's oversight and verification regime, is as follows.  For meat,    604 of the FMIA  provides:  "the Secretary shall cause to be made by inspectors  appointed for that purpose a post-mortem examination and  inspection of the carcasses and parts thereof of all [livestock]  to be prepared at any slaughtering, ... or similar establishment...."  21 U.S.C.    604 (emphasis added).  For poultry,     455(b) of the PPIA states:  "[t]he Secretary, whenever  processing operations are being conducted, shall cause to be  made by inspectors post mortem inspection of the carcass of  each bird processed...."  21 U.S.C.    455(b) (emphasis added).
    
    
      10
      The government does not deny that in the ninety or so  years since passage of the FMIA in 1907, "inspection" has  been taken to mean an organoleptic examination of the carcass, an inspection, that is, using the senses.  Now the  government has discovered another meaning.  A "federal employee has performed an inspection of a carcass," the  government tells us, "when he has watched a plant employee  conduct the kind of examination, organoleptic or otherwise,  that is necessary to determine whether the carcass is fit for  human consumption.  And in making these observations, the  oversight inspector will observe all of the carcasses that pass  along the slaughter line."  Brief for the Appellees at 29.
    
    
      11
      In other words, the government believes that federal employees fulfill their statutory duty to inspect by watching  others perform the task.  One might as well say that umpires  are pitchers because they carefully watch others throw baseballs.  The government thinks it can arrive at its position on  the basis that the word "inspection" is undefined in the  statutes.  But the lack of a statutory definition does not  render a term ambiguous.  See Bass v. Stolper, Koritzinsky,  Brewster &amp; Neider, S.C., 111 F.3d 1322, 1325 (7th Cir. 1997).It simply leads us to give the term its ordinary, common  meaning.  See Perrin v. United States, 444 U.S. 37, 42 (1979);Johnson v. SEC, 87 F.3d 484, 487 (D.C. Cir. 1996).  And when  we treat the word "inspection" in that manner, it is easy to  see why there is nothing to the government's point that "an  oversight inspector will necessarily observe all carcasses and  parts that pass along the slaughter line."  See John W.  McCutcheon Decl. at p 21.  Every inspection entails an observation, but not every observation amounts to an inspection. One may observe something without paying close attention to  it, and without giving it a critical appraisal, although that is  what these statutes demand.  The military commander may  observe his troops without inspecting them.  The foreman of  an assembly line may do the same with widgets.
    
    
      12
      Both statutes clearly contemplate that when inspections are  done, it will be federal inspectors--rather than private employees--who will make the critical determination whether a  product is adulterated or unadulterated.2  To the extent  federal employees are doing any systematic inspecting under the Models Project, they are inspecting people not carcasses. Delegating the task of inspecting carcasses to plant employees violates the clear mandates of the FMIA and PPIA.  See  Chevron USA, Inc. v. Natural Resources Defense Council,  Inc., 467 U.S. 837, 842-43 (1984).  For that reason, we  reverse the grant of summary judgment and remand to the  district court for further proceedings consistent with this  opinion.
    
    
      13
      So ordered.
    
    
      
        Notes:
      
      
        1
         The Models Project encompasses several phases.  The first  phase involves collecting baseline data of current performance  under federal inspection in order to ensure that the new system  achieves similar standards.  This is followed by a period of testing  the new inspection models at certain volunteer plants.  Testing  began in three such plants in September 1999, and FSIS has set  tentative start-up dates for eighteen others.
      
      
        2
         "The term 'inspector' means:  (1) an employee or official of the  United States Government ..., or (2) any employee or official of the  government of any State...."  21 U.S.C.    453(k).
      
    
    